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15
                      THE UNITED STATES DISTRICT COURT
16
           CENTRAL DISTRICT OF CALIFORNIA- SOUTHERN DIVISION
17

18   MARIANO BENITEZ, individually and ) Case No.: 8:19-cv-00098-JLS-DFM
     on behalf of others similarly situated, )
19
                                             )
20                     Plaintiff,            ) ORDER
                                             )
21
                 vs.                         )
22                                           )
     POWERLINE FUNDING LLC, a New )
23
     York limited liability company,         )
24                                           )
                       Defendant             )
25
                                             )
26                                           )
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 1                                       ORDER
 2         On stipulation of parties, and good cause appearing therefor,
 3   IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:
 4         1)    POWERLINE FUNDING LLC is to file its response to the Complaint no
 5   later than March 18, 2019.
 6

 7            3/8/19
     Dated: _________________
 8
                                        Hon. Josephine L. Staton
 9                                      United States District Judge
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